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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION

MELANIE BRIGHT                                                                      PLAINTIFF

v.                                   CASE NO. 4:17-CV-00832-JM

SHERWOOD NURSING                                                                  DEFENDANT
AND REHAB


                                   DEFENDANT’S STATUS REPORT

        COMES NOW, Defendant, Sherwood Nursing and Rehab (“Sherwood”), by and through

its attorneys, Friday, Eldredge & Clark, LLP, and submits the following Status Report:

        1.       The date and results of any settlement conference – A virtual settlement

conference is currently set for June 17, 2020, before Magistrate Judge Kearney.

        2.       Settlement prospects – Over the last few weeks, the prospects for settlement have

deteriorated significantly from the Defendant’s prospective, and a settlement is unlikely. Since

the time the Defendant agreed to participate in a settlement conference, Plaintiff has failed to

appear for her deposition, resulting in wasted time and resources, and Defendant has used other

resources in preparing a Motion to Dismiss and Motion for Summary Judgment.

        3.       Estimated length of trial – Two days if tried to a jury.


                                               Respectfully submitted,

                                               H. Wayne Young, Jr. (Bar No. 2003128)
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                                               Little Rock, Arkansas 72201-3522
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                                   CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Status Report has been electronically filed of record on
      nd
this 2 day of June, 2020, using the Court’s CM/ECF electronic filing system, which shall send
notice of said filing to all parties of record, and a copy has been sent via U.S. Mail to:

Melanie Bright
2403 Koko Drive
Sherwood, AR 72120-1679




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